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  Specialty Building Consultants




                 Parker vs. ERI
                    3136 Dog River Road
                  Theodore, Alabama 36582




                                                                               1
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  INTRODUCTION

  I was retained by Starnes, Davis, Florie LLP representing ERI and Burl Barnett, to
  evaluate the application of the STO Powerwall system and consider causes of the
  alleged water intrusion at 3136 Dog River Road in Theodore, Alabama. I was also
  asked to consider the role of Bryan Maisel Homes, LLC as the home builder. I
  conducted a site inspection on August 4, 2021.

  I have been involved in the EIFS/ Stucco industry for 27+ years. In those years I have
  been a consultant, salesman, technical trainer, inspector, contractor and an EIFS
  applicator. I have seen thousands of homes and buildings. Most were exterior cladding
  successes with an extremely low percentage of total failure. Most, if not all, failures
  could be attributed to lack of proper flashing and sealants.

  After visiting the property, reviewing a multitude of documents and depositions it is my
  conclusion that the STO PowerWall system installed on this home did not fail.

  Flashing and Window Installation

  The window head flashing was not installed to divert water away from the windows and
  away from the face of the building. Head flashing protects the window and the building
  from potential water intrusion. An alternative to head flashing would have been a
  banded trim band around the window which would allow for an inside caulk joint to
  protect the window. My understanding is that the homeowners rejected ERI’s
  recommendation to install such bands. It is the responsibility of the person who
  designed the home that the structure is flashed properly. It is the builder’s responsibility
  to verify that proper flashing is installed, in accordance with local building codes.

  Per the 2012 International Residential Code-

  R703.8 Flashing.

  Approved corrosion-resistant flashing shall be applied shingle-fashion in a manner to
  prevent entry of water into the wall cavity or penetration of water to the building
  structural framing components. Self-adhered membranes used as flashing shall comply
  with AAMA 711. The flashing shall extend to the surface of the exterior wall finish.
  Approved corrosion-resistant flashings shall be installed at all of the following locations:
         1. Exterior window and door openings. Flashing at exterior window and door
         openings shall extend to the sur¬ face of the exterior wall finish or to the water-
         resistive barrier for subsequent drainage. Flashing at exterior window and door
         openings shall be installed in accordance with one or more of the following:
                1.1. The fenestration manufacturer's installation and flashing instructions,
                or for applications not addressed in the fenestration manufacturer's
                instructions, in accordance with the flashing manufacturer's instructions.
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               Where flashing instructions or details are not provided, pan flashing shall
               be installed at the sill of exterior window and door openings. Pan flashing
               shall be sealed or sloped in such a manner as to direct water to the
               surface of the exterior wall finish or to the water-resistive barrier for
               subsequent drainage. Openings using pan flashing shall also incorporate
               flashing or protection at the head and sides.
               1.2. In accordance with the flashing design or method of a registered
               design professional.
               1.3. In accordance with other approved methods.
        2. At the intersection of chimneys or other masonry construction with frame or
        stucco walls, with projecting lips on both sides under stucco copings.
        3. Under and at the ends of masonry, wood or metal copings and sills.
        4. Continuously above all projecting wood trim.
        5. Where exterior porches, decks or stairs attach to a wall or floor assembly of
        wood-frame construction.
        6. At wall and roof intersections.
        7. At built-in gutters.




  The report of Todd Alford discusses improper wrapping of the windows by ERI. The sub-
  contractor with responsibility for installing the windows should have brought any issues
  relating to the windows and their installation to the attention of the homebuilder.
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  The proper window flashing may have prevented intrusion of water at the windows even
  if the windows were not properly wrapped.

  During my site visit, I also viewed several windows that were installed improperly or not
  square. The rear, top level door did not appear to be square. Sloane Parker, one of the
  homeowners, testified that one of the windows at the property had to be removed and
  reset because it was not squared.



  Kick out flashing




  The lack of proper diverter flashing can be a massive failure for an EIFS or stucco
  system. Originally this home did not have diverter flashing installed. It was installed by a
  contractor other than ERI, several months after the initial construction had finished. The
  lack of diverter flashing for that period of time could have resulted in water intruding into
  the stucco wall.

  ERI’s contract with Bryan Maisel Homes, LLC pointed out that ERI was not responsible
  for the installation of any flashing, including kick out flashing. The installation of the
  flashing should have been assigned to another sub-contractor by the builder at the time
  the home was constructed.

  I, as a contractor, always single out that I do not install flashing on any of my projects. It
  is common in the industry for a sub-contractor to exclude items from their scope of
  work.

  It is also the position of STO Corporation that flashing is not a part of the STO Power
  Wall system. STO’s corporate representative testified that flashing of the STO Power
  Wall system is the responsibility of the design professional and home builder.
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  Moisture/ Substrate

  A high moisture reading on a meter does not constitute a failure. The location of the
  reading and the integrity or firmness of the substrate should be considered when
  evaluating a property for moisture.


  The following paragraph was taken from the Delmhorst BD2100 manual
  concerning moisture readings:

  “If the displayed reading is above the set-point value the setpoint buzzer will sound. Also, one
  of the LEDs on the front panel will light up as follows: Wood Scale #1 Green - 6% to 15% Yellow
  - 15% to17% Red - > 17%

  Temperature –As wood temperature increases, its electrical resistance decreases and indicated
  moisture content rises.

  Delmhorst uses Douglas Fir, the USDA standard, as the basis for all wood calibrations. Because
  the electrical characteristics of different species vary, all species read differently at the same
  moisture content.”


  What we do not know from looking at the photos, was the meter calibrated properly before the
  moisture readings were taken and are the pins in the meter new or used. This could affect the
  moisture readings.




  The photographs attached as Attachment 1 were produced by Todd Alford. In the
  photos, the Delmhorst BD2100 moisture meter is visible. The moisture readings appear
  to be in the acceptable range and the substrate in the core samples appears clean and
  free of moisture stains.

  I have reviewed photos produced by the homeowner reflecting bubbling or uncured
  finish coat conditions. These conditions appear to relate to the application of the finish
  coat, and as such would not compromise the wall system as a whole.
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  Framing

  The below picture was provided by Cain & Associates. It shows a significant corner gap
  in the framing. It does not allow the corners to be wrapped properly in mesh.
  I reviewed the photos from Bethel Engineering and observed a “Pocket Void” on the
  rear elevation, page 199, and the proper installation of deck flashing, pages 24.-25.
  These types of framing issues could obstruct a proper installation of an exterior
  cladding.




  Deck Beam

  The photographs attached as Attachment 2 from the report of Todd Alford show a deck
  beam that is rotted. The rotted beam was caused by a design flaw. The deck lacks the
  proper flashing at the intersection of the home, it does not have the proper flashing on
  the edges of the deck for water runoff and the slope to the deck allows the water to pool
  on the deck.


  Risk of Danger

  The report of Todd Alford discusses a risk of danger associated with the stucco system
  falling off the wall. It is my opinion that the system has not failed. Furthermore, I have
  not observed any areas of the system that pose a threat of falling off the wall and
  causing physical harm. Todd Alford, the expert retained by the homeowner and builder,
  also testified that he has not observed any stucco that looks like it will fall off the wall.
  He also testified generally that the safety and welfare of the homeowners has not been
  compromised.
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  Role of Bryan Maisel Homes, LLC

  Bryan Maisel Homes, LLC entered into a contract with the homeowners for construction
  of the home at issue in this lawsuit. It was the only party that entered into a contract for
  the construction of the home with the homeowners. Under the terms of the contract,
  Bryan Maisel Homes, LLC agreed to provide labor and materials for construction of the
  home pursuant to the plans and specifications. The plans require that the home be
  constructed to comply with the 2012 International Residential Code and other standard
  practices and ordinances. In his deposition, Bryan Maisel admitted he was responsible
  to the homeowners for construction of the home. I agree with Todd Alford’s testimony
  that the homebuilder is responsible to the homeowner to be “compliant to the Code”.
  Bryan Maisel Homes, LLC also represented to the Mobile County Public Works division
  that it would comply with the 2012 International Residential Code in constructing the
  home. Bryan Maisel Homes, LLC would have been the only party to sign an
  acknowledgement with the county relating to construction of the home.
  Bryan Maisel Homes, LLC failed to do the following things it should have done as the
  builder:
      • Supervise and manage the work of the sub-contractors who performed work on
          the home
      • Construct the home free of defects
      • Construct the home in accordance with the contract with the homeowners
      • Build a home compliant with the 2012 International Residential Code
      • Repair or cure any defects in the construction of the home in a timely manner to
          avoid further damage that may result from any defects as testified by Todd
          Alford.

  I also agree with Todd Alford’s testimony that Bryan Maisel Homes, LLC had a duty to
  deliver to the homeowners a home free of defects. I have discussed other specific
  instances of Bryan Maisel’s failures throughout my report.


  Repair Estimate

  Alpha Finishes, Inc. has visited the property and confirms that the STO Power Wall
  system on this home can be properly removed and replaced for $275,000. While I
  believe the STO stucco system could be repaired for less, I have obtained an estimate
  to remove and replace the stucco system because it is my understanding the
  homeowners and builder want to replace the system currently in place with another
  manufacturer’s system. This estimate is attached as Attachment 3.

  As a home builder, I would rely on an estimate such as this for the repair scope of work.
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  Conclusion

  The moisture readings taken during the home’s destructive testing do not reflect a failed
  stucco system. Therefore, in my opinion, the STO Powerwall system is not a failure,
  and the home can be successfully repaired by a qualified contractor working with the
  product manufacturer.
  The following is a list of failures I’ve observed relating to the home:
     •   Lack of flashing at windows and doors, which caused or contributed to water
         intrusion at these locations. Bryan Maisel Homes, LLC as the builder should
         have ensured the proper flashing was installed by the sub-contractor with
         responsibility for installation of the windows and doors
     •   Framing issues discussed in my report, which contribute to the defects in the
         construction
     •   Failure to install kickout or diverter flashing at the time of the construction of the
         home. The responsibility to ensure this flashing is installed is the builder’s, Bryan
         Maisel Homes, LLC
  Bryan Maisel Homes, LLC did not fulfill his obligations to construct the home in
  accordance with the 2012 International Residential Code, the plans, and the contract
  with the homeowners.
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     Specialty Building Consultants




LEGAL CASES

I have not testified in a trial or deposition in the last 4 years.



Professional Summary

I have 27+ plus years’ experience in the EIFS, stucco and cement fiber exterior cladding industry.
My experience consists of consulting, inspections, installation, and repair. As the owner of
Specialty Building Consultants, I have worked with buyers, sellers, general contractors, architects
and attorneys.
Fully licensed and nationally “Certified” through the American Society of Home Inspection (ASHI)
and EDI.


Experience

EIFS Inspector/Contractor
7/2006 – Present
Specialty Building Consultants LLC
Madison, AL


Home Inspector
7/2006 – Present
Specialty Building Consultants LLC
Madison, AL

Asbestos Inspector/Contractor
7/2006 – Present
Specialty Building Consultants LLC
Madison, AL

Regional Sales Representative
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    Specialty Building Consultants


5/1995-11/1999
Sto Corporation
Atlanta, Ga

Education
B.A, 1985
College of Communications
University of Alabama
Tuscaloosa, AL


Licenses & Certifications

EIFS Inspector, State of Alabama #0878
Home Inspector, State of Alabama. #2083
Home Builder, State of Alabama. #22066
Asbestos Inspector, State of Alabama. # AIN0322577955
Asbestos Contractor, State of Alabama. # ASU0622577955
Real Estate Broker, State of Alabama. #64273-4
ASHI Certified Inspector #265400
Exterior Design Institute EIFS #AL 41
Exterior Design Institute Level 2 Building Envelope Inspector Certification
TN ACM Inspector A-I-103525-127693
Certified Infrared Thermography Level 1
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    Specialty Building Consultants




FEE SCHEDULE

   1. EIFS/Stucco inspection and background preparation. $150/hour.

   2. Travel fees reimbursed.

   3. Deposition/court appearance fee. *8-hour minimum. $250/hour


I have invoiced $3,590 as of September 1, 2022, for my services on this case.



_______________________________________
Charles A. Marion
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                     ATTACHMENT 1
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                     ATTACHMENT 2
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                                       2472
ARCADIA ICR, LLC
Parker Residence – Exterior Cladding Deficiency Evaluation
3136 Dog River Road Theodore, AL




Photo Q: Removal of the cladding over the third-floor balcony support beam revealed dark moisture
staining and deterioration. This photograph was provided to AICR by Counsel.




Photo R: Removal of the cladding over the third-floor balcony support beam revealed dark moisture
staining and deterioration. This photograph was provided to AICR by Counsel.




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                     ATTACHMENT 3
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                                                                                                                                         Adamsville, AL, 35005
                                                                                                                                                 (205) 746-4817
                                                                                                                                   ramosplastering@gmail.com




                                                                                                                                             Estimate
Alpha Finishes Inc
For:                    Parker V.                                                                                   Estimate No:                              4
                                                                                                                           Date:                    08/26/2022



Description                                                                                                        Quantity             Rate         Amount

Parker v. ERI                                                                                                              1       $275,000.00     $275,000.00


Remove and reinstall a stucco system that compares to a STO Powerwall system. 10,700 sq ft.

Repair all damaged substrate.

Remove all work related debris from work site.

Does not include damage past the substrate (Added cost) or landscaping damaged due to the stucco repair project.

The contractor to walk the project before the agreement/contract can be finalized.

Price $275,000



                                                                                              Subtotal                                             $275,000.00
                                                                                              TAX 0%                                                      $0.00
                                                                                                 Total                                             $275,000.00



                                                                                           Total                                       $275,000.00




                                                                                1/1
